                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN


JOHN M. ANDERSON, et al.,

              Plaintiffs,

        v.                                    Case No. 23-CV-1430

WISCONSIN DEPARTMENT OF
CORRECTIONS, et al.,

              Defendants.


               DEFENDANTS’ BRIEF IN SUPPORT OF THEIR
               MOTION FOR PARTIAL SUMMARY JUDGMENT
                      ON EXHAUSTION GROUNDS


                                 INTRODUCTION

        Plaintiffs file suit asserting Eighth Amendment claims against Defendants

related to the conditions of their confinement at the Waupun Correctional Institution

in March 2023–October 2023. (Dkt. 14 ¶¶ 134-143.) They assert that they were

provided inadequate medical care, dental care, mental health care, and were exposed

to extreme isolation. However, eight Plaintiffs – Anderson, Kurkowski, Dalberg,

Flemming, Welch, Dreiling, Salinas-Leal, and Schmitt - failed to exhaust their

administrative remedies before filing suit. As such, they must be dismissed from this

case.

        Defendants file this motion to conserve the parties’ and judicial resources

before addressing the Plaintiffs’ anticipated motion for class certification or the

merits of Plaintiffs’ lawsuit. Whether an inmate exhausted his administrative
remedies should be determined before the Court decides the merits of the case. Pavey

v. Conley, 544 F.3d 739, 742 (7th Cir. 2008), as amended on denial of reh’g and reh’g

en banc (Sept. 12, 2008). If this Court denies Defendants’ Motion for Partial Summary

Judgment on Exhaustion Grounds, they reserve the right to file a Motion for

Summary Judgment on the merits by the dispositive-motion deadline established by

the Scheduling Order of the Court.

                      SUMMARY JUDGMENT STANDARD

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). Summary judgment is an “integral part of the

Federal rules,” and its purpose “is to isolate and dispose of factually unsupported

claims or defenses.” Celotex Corp. v. Catrett, 477 U.S. 317, 323–24, 327 (1986). A

court’s decision to grant summary judgment “is not discretionary”—when “a moving

party shows that the opposing party lacks evidence to support each element of a

claim, summary judgment must be granted in favor of the movant.” Baron v.

Frederickson, 419 F. Supp. 2d 1056, 1063 (W.D. Wis. 2006) (citation omitted).

      “By its very terms,” the summary judgment standard “provides that the mere

existence of some alleged factual dispute between the parties will not defeat an

otherwise properly supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 247-48 (1986) (emphasis in original). A “material” fact is one that, under the

applicable substantive law, “might affect the outcome of the suit.” Id. at 248. The




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“materiality determination rests on the substantive law” because it identifies “which

facts are critical and which facts are irrelevant.” Id. A dispute over a material fact is

“genuine” “if the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Id.

      “The party moving for summary judgment has the initial burden of

demonstrating there is no genuine dispute of material fact: it may discharge this

responsibility by showing that there is an absence of evidence to support the

nonmoving party’s case.” Bunn v. Fed. Deposit Ins. Corp., 908 F.3d 290, 295 (7th Cir.

2018) (citations omitted). Once the movant satisfies his initial responsibility, the

burden then shifts to the nonmovant, who must “come forward with specific facts

demonstrating that there is a genuine issue for trial.” Id. (citation omitted); see also

Celotex, 477 U.S. at 324 (“[R]ule 56(e) therefore requires the nonmoving party to go

beyond the pleadings and by her own affidavits, or by the ‘depositions, answers to

interrogatories, and admissions on file,’ designate ‘specific facts showing that there

is a genuine issue for trial.’”). A nonmovant is “entitled to all reasonable inferences

in his favor, but inferences that are supported by only speculation or conjecture will

not defeat a summary judgment motion.” Lavite v. Dunstan, 932 F.2d 1020, 1029 (7th

Cir. 2019) (citation omitted).

                            EXHAUSTION STANDARD

I.    The Prison Litigation Reform Act requires an inmate to exhaust
      his administrative remedies before filing a lawsuit.

      The Prison Litigation Reform Act (PLRA) “mandates that an inmate exhaust

‘such remedies as are available’ before bringing suit to challenge prison conditions.”



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Ross v. Blake, 578 U.S. 632, 638 (2016) (quoting 42 U.S.C. § 1997e(a)). It provides

that “[n]o action shall be brought with respect to prison conditions under section 1983

of this title, or any other Federal Law, by a prisoner confined in any jail, prison, or

other correctional facility until such administrative remedies as are available are

exhausted.” 42 U.S.C. § 1997e(a). PLRA “speaks in unambiguous” and “mandatory”

terms: “An inmate ‘shall’ bring ‘no action’ (or said more conversationally, may not

bring any action) absent exhaustion of available administrative remedies.” Ross, 578

U.S. at 638. As to reach, PLRA “applies to all inmate suits about prison life, whether

they involve general circumstances or particular episodes, and whether they allege

excessive force or some other wrong.” Porter v. Nussle, 534 U.S. 516, 532 (2002).

      To “exhaust remedies, a prisoner must file complaints and appeals in the place,

and at the time, the prison’s administrative rules require.” Lockett v. Bonson, 937

F.3d 1016, 1025 (7th Cir. 2019) (citation omitted). This means an inmate must

“properly” pursue “each step within the administrative process” “so that the agency

addresses the issues on the merits.” Pozo v. McCaughtry, 286 F.3d 1022, 1024 (7th

Cir. 2002). The steps an inmate must follow are established by state law. Lanaghan

v. Koch, 902 F.3d 683, 687 (7th Cir. 2018) (“State law establishes the administrative

remedies that a state prisoner must exhaust for purposes of the PLRA.”). These

requirements are “interpreted strictly,” meaning “a prisoner must comply with the

specific procedures and deadlines established by the prison’s policy.” Pyles v.

Nwaobasi, 829 F.3d 860, 864 (7th Cir. 2016) (citation omitted).

      Inmates are required to “alert[] the prison to the nature of the wrong for which




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redress is sought.” Strong v. David, 297 F.3d 646, 650 (7th Cir. 2002); see also Turley

v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013) (holding that an inmate must alert the

state to the problem and invite corrective action.). Inmates are limited to “one clearly

identified issue” per offender complaint and each grievance. Wis. Admin. Code § DOC

310.07(5). Grievances exhaust only claims that are closely related to the issues

discussed in those grievances, because those are the only problems that they brought

to prison officials’ attention. Strong, 297 F.3d at 650 (explaining that to effect

exhaustion, a prisoner must “object intelligibly to some asserted shortcoming”). “[T]he

standard is whether the offender complaint would put an official on notice of the

plaintiff’s claim.” Wille v. Pugh, No. 13-cv-1024, 2015 WL 5254532, at *6 (E.D. Wis.

Sept. 9, 2015). This does not mean that he needs to name each specific official, but he

does have to put prison staff on notice about a particular problem. Jones v. Bock, 549

U.S. 199, 219 (2007) (noting that exhaustion requirement is designed “to alert prison

officials to a problem, not to provide personal notice to a particular official that he

may be sued”).

      “Failure to exhaust is an affirmative defense, and the burden of proof is on the

defendant[.]” Lockett, 937 F.3d at 1025 (citation omitted). Accordingly, the defendant

must “show [the inmate’s] failure to exhaust.” Williams v. Ortiz, 937 F.3d 936, 941

(7th Cir. 2019). If the defendant meets this burden, a district court must dismiss the

case. Ross, 578 U.S. at 639 (“[M]andatory exhaustion statutes like the PLRA establish

mandatory exhaustion regimes, foreclosing judicial discretion.”).




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II.   To exhaust in Wisconsin, an inmate must comply with Wis.
      Admin. Code ch. DOC § 310.

      Wisconsin’s administrative procedures for inmate complaints are outlined in

Wis. Admin. Code DOC ch. 310 (2018). The Code makes clear its objective: “The

purpose of this chapter is to afford inmates in institutions a process by which

grievances may be expeditiously raised, investigated, and decided.” Wis. Admin. Code

DOC § 310.01(1); see also Lockett, 937 F.3d at 1027 (“[T]he primary purpose of the

exhaustion doctrine: it alerts the prison officials to the existence of the problem and

affords an opportunity to repair the injury.”).

      To achieve that purpose, the Code created the “inmate complaint review

system.” Under that system, an inmate must “attempt to resolve [an] issue by

following the designated process specific to the subject of the complaint” before “filing

a formal complaint.” Wis. Admin. Code DOC § 310.07(1). If no resolution can be

reached, an inmate must then “file a complaint within 14 days after the occurrence

giving rise to the complaint.” Wis. Admin. Code DOC § 310.07(2). An inmate properly

submits a complaint by “placing it in a receptacle designed for complaints or by

submitting it to the [institution complaint examiner] office through institution or

USPS mail.” Wis. Admin. Code DOC § 310.07(8). The complaint must “clearly

identif[y]” the issue. Wis. Admin. Code DOC § 310.07(5).

                                     ARGUMENT

I.    Eight Plaintiffs failed to exhaust their administrative remedies in this
      case, so they must be dismissed from this lawsuit.

      Plaintiffs asserted Eighth Amendment claims related to their conditions of




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confinement from March 29, 2023, through the filing of the complaint. (Dkt. 14 ¶ 24.)

In its Second Screening Order, the Court allowed Plaintiffs to proceed on four 1 causes

of action in relation to these conditions of confinement. (Dkt. 15 citing Dkt. 14 ¶¶ 134-

43.) In terms of how these causes of action were articulated in their complaint,

Plaintiffs alleged that they were exposed:

   •   To “substantial risk of serious harm and injury from inadequate access to

       medical care.” (Id. ¶¶ 136-137.) Plaintiffs defined this as their “Medical

       Subclass.” (Id. ¶ 136.)

   •   To “substantial risk of serious harm and injury from inadequate access to

       dental care.” (Id. ¶¶ 138-139.) Plaintiffs defined this as their “Dental Subclass.”

       (Id. ¶ 138.)

   •   To “substantial risk of serious harm and injury from inadequate mental health

       care.” (Id. ¶¶ 140-141.) Plaintiffs defined this as their “Mental Health

       Subclass.” (Id. ¶ 140.)

   •   To “substantial risk of serious harm and injury from inadequate physical

       exercise, inadequate nutrition, inadequate mental health treatment, and

       conditions of extreme social isolation and environmental deprivation” with

       respect to their isolation. (Id. ¶¶ 142-143.) Plaintiffs defined this as their

       “Isolation Subclass.” (Id. ¶ 142.)



       1 Plaintiffs listed five causes of action; however, two of those causes appear to be duplicative,

as they separately allege that Plaintiffs were exposed to a “substantial risk of serious harm and injury
from inadequate access to health care” and were exposed to “substantial risk of serious harm and
injury from inadequate access to medical care.” (Dkt. 14 ¶¶ 134-137). It is not clear how these claims
differ.



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   In preparing this motion, Defendants reviewed Plaintiffs’ Inmate Complaint

History Reports (ICHR) for any relevant inmate complaints which exhausted claims

that could fall under one of those subclasses. (DPFOF ¶ 1.) In reviewing these

complaints, the following is clear:

      •   None of the Plaintiffs exhausted any inmate complaints which could

          reasonably fall under the Mental Health Subclass;

      •   None of the Plaintiffs exhausted any inmate complaints which could fall

          under the Isolation Subclass;

      •   One Plaintiff—Natcone—exhausted an inmate complaint regarding access

          to routine dental care;

      •   One Plaintiff—Burkes—exhausted an inmate complaint regarding access

          to the eye doctor.

      As the remaining Plaintiffs did not exhaust their administrative remedies,

they must be dismissed from this lawsuit.

      A. John M. Anderson

      During the relevant time period, Plaintiff Anderson filed two exhausted inmate

complaints which may be related to the identified subclasses. (DPFOF ¶ 2.) However,

neither one exhausted his administrative remedies with respect to this lawsuit.

      Anderson filed one inmate complaint regarding his access to medical care. In

WCI-2023-13260, Anderson complained that he was being denied treatment for eye

pain. (DPFOF ¶ 3.) While Anderson successfully exhausted this complaint by

utilizing the administrative appellate process, Anderson did not receive a final




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decision on his inmate complaint until December 7, 2023, which is after this lawsuit

was filed on October 26, 2023. (DPFOF ¶ 4.) As the Seventh Circuit has noted, the

PLRA “requires prisoners to exhaust administrative remedies before filing suit” as a

“‘sue first, exhaust later’ approach is not acceptable.” Chambers v. Sood, 956 F.3d

979, 984 (7th Cir. 2020). As such, Anderson did not exhaust his administrative

remedies with respect to this complaint.

      Anderson also filed an inmate complaint related to his denial of recreation. In

WCI-2023-8196, Anderson asserted that he was denied access to recreation on a

single occasion—on June 1, 2023. (DPFOF ¶ 5.) That complaint was ultimately

dismissed as Anderson was denied recreation due to his failure to be at cell front

during count. (DPFOF ¶ 6.) Anderson exhausted his administrative appeals.

However, this inmate complaint could not possibly exhaust his administrative

remedies with respect to allegations in this lawsuit. Even assuming, arguendo, that

Anderson claims this inmate complaint is related to the isolation subclass, a denial

of recreation on a single occasion did not put the prison on notice of a claim of

“inadequate physical exercise, inadequate nutrition, inadequate mental health

treatment, and conditions of extreme social isolation and environmental deprivation.”

(Dkt. 14 ¶ 142.)

      The Seventh Circuit’s decision in Schillinger v. Kiley is instructive. 954 F.3d

990, 995 (7th Cir. 2020). In Schillinger, a prisoner sued several prison officials

alleging that they failed to protect him from attack by another inmate. Id. While the

prisoner filed and exhausted an inmate complaint regarding the attack, the complaint




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did not show that prison officials had any reason to know that an attack was

imminent or that they took appropriate measures to prevent it. Id. As such, the

Seventh Circuit ruled that he failed to exhaust his failure-to-protect claim. Id.

      One of the primary purposes of the exhaustion requirement is to permit prison

officials the opportunity to address inmate concerns internally before an inmate

initiates litigation. Woodford v. Ngo, 548 U.S. 81, 89 (2006); Schillinger, 954 F.3d at

995. Exhaustion “promotes efficiency because a claim can generally be resolved much

more quickly in an administrative proceeding than in litigation in federal court.”

Schillinger, 954 F.3d at 995. Anderson’s complaint failed to put the prison on notice

of an Eighth Amendment claim related to isolation, as it focused simply on a single

denial of recreation. As such, it failed to exhaust his administrative remedies with

respect to the isolation subclass.

      Anderson’s failure to exhaust his administrative remedies prior to filing suit

necessitates his dismissal from this case.

      B. Patrick Kurkowski

      Plaintiff Kurowski filed two inmate complaints which were potentially related

to the claims in this suit. (DPFOF ¶ 7.) Both WCI-2023-12447 and WCI-2023-12844

complained about the Kurkowski’s limited access to recreation. However, WCI-2023-

12447 was rejected as untimely and WCI-2023-12844 was rejected as frivolous, and

neither rejection was appealed to the reviewing authority. (DPFOF ¶¶ 8, 9.)

Kurkowski’s failure to utilize the administrative appeals process means that he failed




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to exhaust these inmate complaints. As Kurkowski failed to exhaust any inmate

complaints relevant to this lawsuit, he must be dismissed.

      C. Kenneth Dalberg

      Plaintiff Dalberg did not file any relevant inmate complaints which were

exhausted. (DPFOF ¶ 10.) The closest example of an exhausted inmate complaint

which is relevant to the claims he asserts in this lawsuit is WCI-2023-10705, in which

Dalberg complains about the fact that one of his inmate complaints regarding his

limited access to healthcare was returned. (DPFOF ¶ 11.) In that complaint, Dalberg

asserts that he attempted to file an inmate complaint in which he asserted that he

was denied medical treatment due to the facility being on modified movement.

(DPFOF ¶ 11.) Dalberg claimed that his inmate complaint was not accepted, as it was

determined not to comply with Wis. Admin. Code § DOC 310.07(5)’s requirement that

the complaint clearly identify a single issue. (DPFOF ¶ 12.) While Dalberg exhausted

WCI-2023-10705, this complaint clearly focused on the return of the previous

complaint. Dalberg did not subsequently file any inmate complaints which exhausted

his administrative remedies with respect to his limited access to healthcare. (DPFOF

¶ 13.) As such, he must be dismissed from this lawsuit.

      D. Edgar Salinas-Leal

      Plaintiff Salinas-Leal did not file any relevant inmate complaints prior to the

filing of this lawsuit, let alone any that were exhausted. (DPFOF ¶ 14.) He must be

dismissed from this lawsuit.

      E. Bradley Schmitt




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       Plaintiff Schmitt did not file any relevant inmate complaints prior to the filing

of this lawsuit, let alone any that were exhausted. (DPFOF ¶ 15.) He must be

dismissed from this lawsuit.

       F. Jayvon Flemming

       Plaintiff Flemming filed two inmate complaints which are related to the claims

in this lawsuit. (DPFOF ¶ 16.) However, neither one of them were exhausted prior to

this lawsuit being filed. In WCI-2023-12289, Flemming asserted that he was being

denied access to the Psychological Services Unit. However, that complaint did not

receive a final decision dismissing this complaint until October 31, 2023, after this

lawsuit was filed. (DPFOF ¶ 17.) In WCI-2023-14913, Flemming complained that he

was being denied dental care. However, this complaint did not receive a final decision

until December 20, 2023—again, after this lawsuit was filed. (DPFOF ¶ 18.) Inmate

complaints must be fully exhausted prior to filing suit. Chambers, 956 F.3d at 984.

As Flemming did not exhaust his administrative remedies, he must be dismissed from

this suit.

       G. Jason Natcone

       Plaintiff Natcone did exhaust an inmate complaint regarding his access to

routine dental care during the relevant time period. In WCI-2023-8465, Natcone

asserted that he was not being seen for teeth cleanings every six months as required

by his medical condition. The complaint was ultimately affirmed, as hygiene

appointments were put on hold during modified movement. (DPFOF ¶ 19.)




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      However, Natcone did not exhaust any other inmate complaints relevant to

this lawsuit. (DPFOF ¶ 20.)

      H. Justin Welch

      Plaintiff Welch filed one inmate complaint which is potentially relevant to this

lawsuit. (DPFOF ¶ 21.) In WCI-2023-8259, Welch asserted that he was denied access

to recreation on a single occasion—on June 1, 2023. (DPFOF ¶ 22.) That complaint

was ultimately dismissed as Welch was denied recreation due to his failure to be at

cell front during count. (DPFOF ¶ 23.) Welch exhausted his administrative appeals.

However, for the reasons previously discussed with respect to Plaintiff Anderson, an

inmate complaint regarding one missed recreation period could not possibly exhaust

his administrative remedies with respect to allegations in this lawsuit. As such,

Welch must be dismissed from this lawsuit.

      I. Ashton Dreiling

      Plaintiff Dreiling did not file any inmate complaints which exhausted his

administrative remedies in this suit. (DPFOF ¶ 24.) The only tangentially related

complaint, WCI-2023-10120, in which Dreiling alleges that staff ignored his claims of

self-harm, was not exhausted through the administrative appeals process. (DPFOF ¶

25.) As such, Dreiling must be dismissed.

      J. Kevin Burkes

      Plaintiff Burkes did exhaust an inmate complaint regarding his access to eye

care during the relevant time period. In WCI-2023-10358, Burkes alleged that he was

not seen by an eye doctor despite complaints about pain in his eyes. The complaint




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was affirmed, with the Inmate Complaint Examiner noting that the institution was

exploring options to get providers to see patients with optical concerns. (DPFOF ¶

26.)

       Burkes also filed an inmate complaint in which he alleged that wellness checks

were not taking place due to modified movement and that “he may have a medical

emergency and not be able to contact staff.” (DPFOF ¶ 27.) WCI-2023-9370 was

reasonably rejected, as Burkes had not alleged that he actually suffered any harm

nor that he was in danger as a result of modified movement and the ICRS was not

going to judge a “pretend controversy” based on “a state of facts which ha[d] not yet

arisen nor upon a matter that is either future, contingent, or uncertain.” (DPFOF ¶

28.) Because rejected claims are “presumably procedurally flawed, they cannot satisfy

the exhaustion requirement even if appealed.” Collins v. McCaughtry, No. 04-C-147-C,

2005 WL 503818, at *3 (W.D. Wis. Feb. 28, 2005); see also Jones v. Frank, No. 07-cv-

141-bbc, 2008 WL 4190322, at *3 (W.D. Wis. Apr. 14, 2008) (“Under the general rule,

plaintiff’s failure to comply with this procedural requirement requires the court to

dismiss his lawsuit for failure to exhaust all administrative remedies.”); Torry v. Salter,

No. 11-cv-748-wmc, 2013 WL 6238608, at *3 (W.D. Wis. Dec. 3, 2013) (“Regardless of

the exact reason for rejecting the complaint, a rejected complaint cannot be exhausted.”)

       Burkes did not exhaust any other inmate complaints related to this lawsuit.

(DPFOF ¶ 29.)

                                    CONCLUSION

       Only   two    plaintiffs—Natcone     and    Burkes—exhausted       administrative




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complaints that may be relevant to this lawsuit. Plaintiffs Anderson, Dalberg,

Dreiling, Flemming, Kurkowski, Salinas-Leal, Schmitt, and Welch did not exhaust

any relevant inmate complaints. Additionally, none of the Plaintiffs exhausted any

inmate complaints related to the Mental Health Subclass or the Isolation Subclass.

      To comply with the exhaustion requirement, a prisoner must take each step in

the administrative process “in the place, and at the time, the prison's administrative

rules require.” Pozo v. McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002). Because

these plaintiffs did not timely pursue the administrative process, they did not exhaust

their administrative remedies, and their claims against Defendants must be

dismissed. Id. at 1024.

      For these reasons, the Court should grant the Defendants’ motion for partial

summary judgment and dismiss all Plaintiffs but for Natcone and Burkes.

      Dated March 25, 2024.

                                        Respectfully submitted,

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